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                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


 In re                                            IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                 CHAPTER 13
                Debtor                            CASE NO.: 19-10782-JEB


         AMENDMENT OF DEBTOR TO JOINT PRETRIAL MEMORANDUM

       Pursuant to this Court’s Proceeding Memorandum and Order dated November 10, 2020

[Doc. No. 252], as amended by order dated December 21, 2020 [Doc. No. 261], Andrew

Greenhut (the “Debtor”), hereby represents that, after good faith discussions by and between

Counsels for the Debtor and the Creditor Gita Srivastava, and multiple drafts of a Joint

Amendment to the Joint Pretrial Memorandum, they are unable to come to agreement regarding

the relevant factual issues and legal standard to be applied concerning the Motion of Creditor

Srivastava to Dismiss Chapter 13 Case. Because of this impasse, the Parties’ have decided to

present their proposed Amendments to the Parties’ previously filed Joint Pretrial Memorandum

dated October 22, 2020, so as to be in compliance with the Court’s prior Orders. Consequently,

the Debtor hereby submits his amendment to the Parties’ previously filed Joint Pretrial

Memorandum dated October 22, 2020 [Doc. No. 248]:

       A.      Debtor’s Statement of Issues of fact to be Determined by the Court

               The Debtor asserts that the following issues of fact are relevant to the
               Court’s inquity concerning the Motion of Srivastava to Dismiss Chapter 13
               Case, but as to which the Parties cannot come to agreement:

               1. What were the reasons, impetuses or motivations underlying his decision to
                  file for bankruptcy under Chapter 13 on the date of his Chapter 13 bankruptcy
                  filing?
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          2. Did the Debtor accurately list all his creditors on his original bankruptcy
             Schedules?

          3. To what extent are the claims owed to persons that are “insiders” or “relatives
             “within the meaning of 11 U.S.C. §§ 31 and 45.

          4. What was the historical treatment of sums received by the Debtor from his
             parents during the period of time prior to the date of the Debtor’s Chapter 13
             bankruptcy filing on March 12, 2019?

          5. To what extent, if any, has the Debtor during the course of this Chapter 13
             case, treated in any Chapter 13 Plan, original or amended, the claims of any
             creditors that could be identified as “insiders” or “relatives “within the
             meaning of 11 U.S.C. §§ 31 and 45 differently than those of other unrelated
             creditors?

          6. Has the Debtor accurately listed the identity of his employer and the amount
             of his monthly income as it existed as of the date of his Chapter 13 bankruptcy
             filing?

          7. What were the impetuses or motivations underlying his decision to file for
             bankruptcy under Chapter 13 on the date of his Chapter 13 bankruptcy filing?

          8. Did the Debtor’s Original Chapter 13 Plan propose to pay general unsecured
             creditors at least as much as required under the Debtor’s Original Chapter 13
             Statement of Current Monthly Income and Calculation of Commitment Period
             and Chapter 13 Calculation of Your Disposable Income (Official Form 122C-
             1 and C-2).

          9. During the conduct of this Chapter 13 case’s proceedings, has the Debtor been
             responsive to the demands for information by the Chapter 13 Trustee?

          10. During the conduct of this Chapter 13 case’s proceedings, has the Debtor been
              responsive to the demands for information by the Creditor?

          11. Did the Debtor, during the course of this Chapter 13 case, file all appropriate
              motions and follow appropriate procedures concerning the retention and
              payment of his Special Counsel with respect to the Texas State Court
              litigation before the Texas Supreme Court?

          12. At the time that the Texas Supreme Court returned a decision in 2020, what
              actions did the Debtor take with respect to amending his proposed Chapter 13
              Plan, Schedules, and Chapter 13 Calculation of Disposable Income?

          13. When the Chapter 13 Trustee objected to certain expenses set forth in the
              Amended Schedules of Income and Expenses associated with the Debtor’s




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                     Second Amended Chapter 13 Plan, how did the Debtor react to those concerns
                     raised by the Chapter 13 Trustee?

               14. What actions did the Debtor, directly or by his attorney, take to assure the
                   Chapter 13 Trustee of the accuracy of the Debtor’s Amended Schedules of
                   Income and Expenses and his Amended Chapter 13 Statement of Current
                   Monthly Income and Calculation of Commitment Period and Chapter 13
                   Calculation of Your Disposable Income (Official Form 122C-1 and C-2)?

               15. How substantial and regular have the Debtor’s payments to the Chapter 13
                   Trustee been during the course of this Chapter 13 case?

               16. Taken as a whole, does the Debtor’s conduct during the course of this Chapter
                   13 case evidence a willingness on the Debtor’s part to pay his creditors as a
                   class fairly and equally, or merely as a ruse to stall and delay his creditors as a
                   whole without making or proposing to make payment on their claims through
                   a Chapter 13 Plan?

         B.    Disputed Issues of Law to be Determined

               1.       Whether the Debtor lacked good faith in the filing of his bankruptcy petition
                        sufficient to warrant dismissal for cause.

               2.        Given the totality of the circumstances, both pre-petition and post-
                         petition, was the Debtor’s Chapter 13 filing done in good faith?

         C.    List of Witnesses Whose Testimony May Be Providing Testimony via
               Deposition Transcript.\1

               1.       Andrew Greenhut—Transcript dated February 10, 2020.

               2.       Gloria Greenhut—Transcript dated February 21, 2020.

               3.       Alan Greenhut—Transcript dated February 21, 2020.




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    The Debtor expressly reserve the right to call such personal as live witnesses at the time of
the evidentiary hearing on the Creditor’s Motion to Dismiss Chapter 13 Case and to utilize such
deposition transcripts for the purposes of impeachment, and for Hearsay Exceptions such as
“Present Recollection Refreshed” and “Past Recollection Recorded”.

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                                    Respectfully submitted,

                                    ANDREW GREENHUT, Debtor
                                    By his Attorney,

Date: 1/8/2021                      /s/ Richard N. Gottlieb, Esq.
                                    Richard N. Gottlieb, Esq. BBO# 547970
                                    Law Offices of Richard N. Gottlieb
                                    Ten Tremont Street
                                    Suite 11, 3rd Floor
                                    Boston, MA 02108
                                    (617) 742-4491
                                    rnglaw@verizon.net




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 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782-JEB


                                CERTIFICATE OF SERVICE


       I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy of the

Amendment of Debtor to Joint Pretrial Memorandum electronically via the CM/ECF Electronic

Messaging System on the persons listed below.


Date: January 8, 2021                        /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, Massachusetts 02108
                                             (617) 742-4491
                                             rnglaw@verizon.net

Persons Served:

Carolyn Bankowski, Esq.
Chapter 13 Trustee
(Served via CM/ECF)

Alex Mattera, Esq.
Pierce Atwood, LLP
Counsel to Gita Srivastava
(Served via CM/ECF)




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